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July 29, 2019

Via ECF and Hand Delivery

Honorable Lewis A. Kaplan, United States District Judge
Daniel Patrick Moynihan U.S. Courthouse

500 Pearl Street

New York, NY 10007

Re: In re: Customs and Tax Administration of the Kingdom of Denmark
(SKAT) Tax Refund Litigation, Docket Number 18-md-2865 (LAK)

Dear Judge Kaplan:

The purpose of this letter is to inform you that Defendants in the consolidated cases, as set
forth below, filed Answers today with the Court in the dockets for their respective actions. As
previously explained in our letters, dated February 20, 2019, July 25, 2019, and July 26, 2019,
counsel made good faith effort to comply with Paragraph 1 of the Court’s Pretrial Order No. 4,
dated October 10, 2018 [ECF Dk. # 2], which requires the filings to be made in the master docket
and “spread” to the action it applies to, but was unable to do so. Filing an Answer in the master
docket would not allow the filing to be “spread” to the appropriate action to which it related.
Counsel for the Defendants contacted the Clerk’s Office and the ECF Help Desk and made a formal
request for the technical “glitch” to be fixed. On February 21, 2019, counsel followed up with the
ECF Help Desk and was informed that this is not a “glitch;” rather the system is set up in a manner
that does not allow a “spreading” option when the filing is made under “Answer to Complaint.”
On July 26, 2019, counsel for the Defendants again attempted to “spread” the Answers to the
appropriate actions, but was still unable to do so. To ensure that the filed Answers accurately
correlate to the appropriate Complaints, counsel filed the Answers in the respective dockets for
each of the actions to which they relate.

To comply with the Court’s Pretrial Order No. 4, we are attaching the following Answers,
filed today, as exhibits to this Letter:

1. Answer to the Complaint by The Everything Clean LLC 401K Plan, SKAT v. The
Everything Clean LLC 401K Plan, et al., Docket Number 1:18-cv-10063-LAK;
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2. Answer to the Complaint by Matthew Tucci, SKAT v. The Everything Clean LLC

401K Plan, et al., Docket Number 1:18-cv-10063-LAK;

3. Answer to the Complaint by The Jump Group LLC 401K Plan, SKAT v. The Jump
Group LLC 401K Plan, et al., Docket Number 1:18-cv-10064-LAK;

4, Answer to the Complaint by Matthew Tucci, SKAT v. The Jump Group LLC 401K
Plan, et al., Docket Number 1:18-cv-10064-LAK;

5. Answer to the Complaint by The Oaks Group Pension Plan, SKAT v. The Oaks
Group Pension Plan, et al., Docket Number 1:18-cv-10065-LAK;

6. Answer to the Complaint by Matthew Tucci, SKAT v. The Oaks Group Pension
Plan, et al., Docket Number 1:18-cv-10065-LAK;

7. Answer to the Complaint by The Wave Maven LLC 401K Plan, SKAT v. The
Wave Maven LLC 401K Plan, et al., Docket Number 1:18-cv-10066-LAK;

8. Answer to the Complaint by Matthew Tucci, SKAT v. The Wave Maven LLC 401K
Plan, et al., Docket Number 1:18-cv-10066-LAK;

9, Answer to the Complaint by The Balmoral Management LLC 401K Pension Plan,
SKAT v. The Balmoral Management LLC 401K Pension Plan, et al., Docket
Number 1:18-cv-10067-LAK;

10. Answer to the Complaint by John LaChance, SKAT v. The Balmoral Management
LLC 401K Pension Plan, et al., Docket Number 1:18-cv-10067-LAK;

11. Answer to the Complaint by The Beech Tree Partners 401K Plan, SKAT v. The
Beech Tree Partners 401K Plan, et al., Docket Number 1:18-cv-10069-LAK;

12. Answer to the Complaint by Matthew Tucci, SKAT v. The Beech Tree Partners
401K Plan, et al., Docket Number 1:18-cv-10069-LAK;

13. Answer to the Complaint by The Blackbird 401K Plan, SKAT v. The Blackbird
401K Plan, et al., Docket Number 1:18-cv-10070-LAK;

14. Answer to the Complaint by Matthew Tucci, SKAT v. The Blackbird 401K Plan,
et al., Docket Number 1:18-cv-10070-LAK;

15. Answer to the Complaint by The Chambers Property Management LLC 401K
Plan, SKAT v. The Chambers Property Management LLC 401K Plan, et al.,
Docket Number 1:18-cv-10071-LAK;

16. Answer to the Complaint by Matthew Tucci, SKAT v. The Chambers Property
Management LLC 401K Plan, et al., Docket Number 1:18-cv-10071-LAK;
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Answer to the Complaint by FiftyEightSixty Solo 401K Plan, SKAT v.
FiftyEightSixty Solo 401K Plan, et al., Docket Number 1:18-cv-10073-LAK;

Answer to the Complaint by Matthew Tucci, SKAT v. FiftyEightSixty Solo 401K
Plan, et al., Docket Number 1:18-cv-10073-LAK;

Answer to the Complaint by The Hawk Group Pension Plan, SKAT v. The Hawk
Group Pension Plan, et al., Docket Number 1:18-cv-10074-LAK;

Answer to the Complaint by Matthew Tucci, SKAT v. The Hawk Group Pension
Plan, et al., Docket Number 1:18-cv-10074-LAK;

Answer to the Complaint by The Hibiscus Partners LLC 401K Plan, SKAT v. The
Hibiscus Partners LLC 401K Plan, et al., Docket Number 1:18-cv-10076-LAK;

Answer to the Complaint by Matthew Tucci, SKAT v. The Hibiscus Partners LLC
401K Plan, et al., Docket Number 1:18-cv-10076-LAK;

Answer to the Complaint by The Maple Advisors LLC 401K Plan, SKAT v. The
Maple Advisors LLC 401K Plan, et al., Docket Number 1:18-cv-10077-LAK;

Answer to the Complaint by Matthew Tucci, SKAT v. The Maple Advisors LLC
401K Plan, et al., Docket Number 1:18-cv-10077-LAK;

Answer to the Complaint by OneZeroFive LLC Solo 401K Plan, SKAT v.
OneZeroFive LLC Solo 401K Plan, et al., Docket Number 1:18-cv-10080-LAK;

Answer to the Complaint by Matthew Tucci, SKAT v. OneZeroFive LLC Solo
401K Plan, et al., Docket Number 1:18-cv-10080-LAK;

Answer to the Complaint by The Sea Bright Advisors LLC 401K Plan, SKAT v.
The Sea Bright Advisors LLC 401K Plan, et al., Docket Number 1:18-cv-10082-
LAK;

Answer to the Complaint by Matthew Tucci, SKAT v. The Sea Bright Advisors
LLC 401K Plan, et al., Docket Number 1:18-cv-10082-LAK;

Answer to the Complaint by The Tag Realty Advisors LLC 401K Plan, SKAT v.
The Tag Realty Advisors LLC 401K Plan, et al., Docket Number 1:18-cv-10083-
LAK;

Answer to the Complaint by Matthew Tucci, SKAT v, The Tag Realty Advisors
LLC 401K Plan, et al., Docket Number 1:18-cv-10083-LAK;

Answer to the Complaint by The Throckmorton Advisors LLC 401K Plan, SKAT
v. The Throckmorton Advisors LLC 401K Plan, et al., Docket Number 1:18-cv-
10086-LAK;
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32. Answer to the Complaint by Matthew Tucci, SKAT v. The Throckmorton Advisors

LLC 401K Plan, et al., Docket Number 1:18-cv-10086-LAK;

33. Answer to the Complaint by The Dink14 LLC 401K Plan, SKAT v. The Dink14
LLC 401K Plan, et al., Docket Number 1:18-cv-10091-LAK;

34. Answer to the Complaint by Vincent Natoli, SKAT v. The Dink14 LLC 401K Plan,
et al., Docket Number 1:18-cv-10091-LAK;

35. Answer to the Complaint by JML Capital LLC 401K Plan, SKAT v. JML Capital
LLC 401K Plan, et al., Docket Number 1:18-cv-10092-LAK;

36. Answer to the Complaint by Roger Lehman, SKAT v. JML Capital LLC 401K
Plan, et al., Docket Number 1:18-cv-10092-LAK;

37. Answer to the Complaint by John LaChance, SKAT v. JML Capital LLC 401K
Plan, et al., Docket Number 1:18-cv-10092-LAK;

38. Answer to the Complaint by Natoli Management Pension Plan, SKAT v. Natoli
Management Pension Plan, et al., Docket Number 1:18-cv-10093-LAK;

39. Answer to the Complaint by Roger Lehman, SKAT v. Natoli Management Pension
Plan, et al., Docket Number 1:18-cv-10093-LAK;

40. Answer to the Complaint by Vincent Natoli, SKAT v. Natoli Management Pension
Plan, et al., Docket Number 1:18-cv-10093-LAK;

41. Answer to the Complaint by Nova Fonta Trading LLC 401K Plan, SKAT v. Nova
Fonta Trading LLC 401K Plan, et al., Docket Number 1:18-cv-10094-LAK;

42. Answer to the Complaint by Roger Lehman, SKAT v. Nova Fonta Trading LLC
401K Plan, et al., Docket Number 1:18-cv-10094-LAK;

43, Answer to the Complaint by Vincent Natoli, SKAT v. Nova Fonta Trading LLC
401K Plan, et al., Docket Number 1:18-cv-10094-LAK;

44. Answer to the Complaint by The Skybax LLC 401K Plan, SKAT v. The Skybax
LLC 401K Plan, et al., Docket Number 1:18-cv-10095-LAK;

45. Answer to the Complaint by Bradley Crescenzo, SKAT v. The Skybax LLC 401K
Plan, et al., Docket Number 1:18-cv-10095-LAK;

46. Answer to the Complaint by The Robin Daniel Pension Plan, SKAT v. The Robin
Daniel Pension Plan, et al., Docket Number 1:18-cv-10096-LAK; and

47. Answer to the Complaint by Matthew Tucci, SKAT v. The Robin Daniel Pension
Plan, et al., Docket Number 1:18-cv-10096-LAK.
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CHARTERED
Please be advised that two copies of this letter and each of the filed Answers as set forth

above will also be delivered to the Chambers.

cc.

Plaintiff's Counsel via ECF.

Respectfully submitted,

Mee

Mark Allison, Esq.

Counsel for the Defendants
FiftyEightSixty Solo 401K Plan

JML Capital LLC 401K Plan

Natoli Management Pension Plan

Nova Fonta Trading LLC 401K Plan
OneZeroFive LLC Solo 401K Plan

The Balmoral Management LLC 401K
Pension Plan

The Beech Tree Partners 401K Plan

The Blackbird 401K Plan

The Chambers Property Management LLC
401K Plan

The Dink14 LLC 401K Plan

The Everything Clean LLC 401K Plan
The Hawk Group Pension Plan

The Hibiscus Partners LLC 401K Plan
The Jump Group LLC 401K Plan

The Maple Advisors LLC 401K Plan

The Oaks Group Pension Plan

The Robin Daniel Pension Plan

The Sea Bright Advisors LLC 401K Plan
The Skybax LLC 401K Plan

The Tag Realty Advisors LLC 401K Plan
The Throckmorton Advisors LLC 401K Plan
The Wave Maven LLC 401K Plan
Bradley Crescenzo

John LaChance

Roger Lehman

Vincent Natoli

Matthew Tucci
